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 8                                   UNITED STATES DISTRICT COURT
 9                                 CENTRAL DISTRICT OF CALIFORNIA
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12   SUZHOU ANGELA ONLINE GAME                           Case No. 2:21-cv-9552-CAS (SKx)
     TECHNOLOGY CO., LTD., a Chinese
13   Corporation, and IMPERIUM                           [Assigned to the Hon. Christina A. Snyder]
14   INTERACTIVE ENTERTAINMENT
     LIMITED, a Chinese Corporation,                     JOINT ORDER APPOINTING
15
                                                         EXPERT PURSUANT TO FEDERAL
                                 Plaintiffs,
16                                                       RULE 706
17                       vs.
18   SNAIL GAMES USA INC., a California
     Corporation, and WILDCARD
19
     PROPERTIES LLC, a Florida Limited
20   Liability Company,
21                               Defendants.
22
     SNAIL GAMES USA INC.,
23
                         Counterclaimant,
24
            vs.
25
     SUZHOU ANGELA ONLINE GAME
26   TECHNOLOGY CO., LTD; and
     IMPERIUM INTERACTIVE
27   ENTERTAINMENT LIMITED,
28                       Counterclaim Defendants,
     11145-00001/13227926 2
                              ORDER APPOINTING EXPERT PURSUANT TO FEDERAL RULE 706
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      SNAIL GAMES USA INC.,
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                 Third Party Plaintiff,
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           vs.
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      TENCENT CLOUD LLC,
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                 Third Party Defendant.
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                   ORDER APPOINTING EXPERT PURSUANT TO FEDERAL RULE 706
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 1         The Court, having reviewed the parties’ statements concerning proposed
 2   independent experts for source code comparison, having considered the record in
 3   this case, having heard argument on March 7, 2022, and good cause appearing,
 4   pursuant to Federal Rule of Evidence 706, hereby issues the following Order:
 5               1.     Subject to his acceptance of this appointment, Robert Zeidman is
 6         hereby appointed as this Court’s Rule 706 Neutral Expert in the area of source
 7         code comparison.
 8               2.     To enable Mr. Zeidman to determine whether he wishes to accept
 9         this appointment, and to determine whether he has any ethical conflicts that
10         may prevent him from fulfilling his duties as a neutral expert, attached as
11         exhibits hereto are true and correct copies of the following pleadings on file in
12         this case: Plaintiffs’ December 9, 2021 Complaint and related exhibit (Exhibit
13         A) and Defendants’ December 20, 2021 Answer, Affirmative Defenses,
14         Counterclaims, and Third-Party complaint with related exhibits (Exhibit B).
15               3.     Mr. Zeidman should not accept this appointment unless he is free
16         and clear of ethical conflicts. For the avoidance of doubt, nothing in this
17         paragraph is intended to discourage or preclude Mr. Zeidman from reviewing
18         other filings made in this litigation, including public filings made in
19         connection with the preliminary injunction proceedings.
20               4.     The Court requests that Mr. Zeidman determine whether he may,
21         and wishes to, accept this appointment within ten (10) days of the issuance of
22         this Order. If the Court and the Parties do not hear from Mr. Zeidman within
23         ten days, they shall understand that he has declined the appointment. The ten
24         day acceptance period may be extended upon request and for good cause.
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                      ORDER APPOINTING EXPERT PURSUANT TO FEDERAL RULE 706
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                          ORDER APPOINTING EXPERT PURSUANT TO FEDERAL RULE 706
